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                     UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF TEXAS


Marvin Clyde Olive

v.                                               Case Number: 3:20−cv−00366

YTL International Inc., et al.




                                 Notice of Resetting

A proceeding has been reset in this case as set forth below.

BEFORE:
Judge Jeffrey V Brown
LOCATION:
Sixth Floor Courtroom Galveston
United States Post Office and Courthouse
601 Rosenberg Street
Galveston, TX 77550


DATE: 2/10/2023
TIME: 09:30 AM
TYPE OF PROCEEDING: Docket Call


Date: March 21, 2022                                           Nathan Ochsner, Clerk
